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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar # 161566
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MANDA LYNN WENTZLOFF
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               CASE NO. 2:11-CR-00476 LKK
                                           )
12                     Plaintiff,          )
                                           )               ORDER RE WAIVER OF DEFENDANT’S
13         v.                              )               PRESENCE
                                           )
14                                         )
     MANDA LYNN WENTZLOFF,                 )
15                                         )
                       Defendant.          )
16   _____________________________________ )
17
            Pursuant to Fed.R.Crim.P. 43, defendant, MANDA LYNN WENTZLOFF, hereby waives the right
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     to be present in person in open court upon the hearing of any motion or other proceeding in this case,
19
     including, but not limited to, when the case is set for trial, when a continuance is ordered, and when any other
20
     action is taken by the Court before or after trial, except upon arraignment, initial appearance, trial
21
     confirmation hearing, entry of plea, and every stage of trial including verdict, impanelment of jury and
22
     imposition of sentence.
23
            Defendant hereby requests the Court to proceed during every absence of her which the Court may
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     permit pursuant to this waiver and agrees that her interests will be deemed represented at all times by the
25
     presence of her attorney, the same as if the defendant were personally present. Defendant further agrees to
26
     be present in Court ready for trial any day and hour the Court may fix in her absence.
27
     ///
28
               Case 2:11-cr-00476-TLN Document 44 Filed 10/24/12 Page 2 of 2


 1   ///
 2   ///
 3          Defendant further acknowledges that she has been informed of her rights under Title 18 U.S.C. §§
 4   3161-3174 (The Speedy Trial Act) and authorizes her attorney to set times and delays under that Act without
 5   her personal presence.
 6   Dated: October 16, 2012
 7                                                        /s/ MANDA LYNN WENTZLOFF
                                                         MANDA LYNN WENTZLOFF
 8                                                       (Original retained by attorney)
 9
10          I concur in Mr. Battle’s decision to waive his presence at future proceedings.
11   Dated: October 16, 2012
12                                                        /s/ Matthew C. Bockmon
                                                         MATTHEW C. BOCKMON
13                                                       Assistant Federal Defender
                                                         Attorney for Defendant
14                                                       MANDA LYNN WENTZLOFF
15   IT IS SO ORDERED:
16   Dated: October 23, 2012
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